







		NO. 12-08-00412-CR


NO. 12-08-00413-CR


NO. 12-08-00414-CR


NO. 12-08-00415-CR


NO. 12-08-00416-CR


NO. 12-08-00417-CR


NO. 12-08-00418-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




BOBBY DARRELL DYKES,§
	APPEAL FROM THE 7TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant, Bobby Darrell Dykes, attempts to appeal from an order denying his motion for
an out of time motion for new trial in seven cause numbers.  As a general rule, an appeal in a
criminal case may be taken only from a judgment of conviction.  See Workman v. State, 170 Tex.
Crim. 621, 622, 343 S.W.2d 446, 447 (Tex. Crim. App. 1961).  However, there are certain narrow
exceptions.  Wright v. State, 969 S.W.2d 588, 589 (Tex. App.-Dallas 1998, no pet.) (listing
exceptions).  The order Appellant complains of is not a judgment of conviction nor does it fall within
any exception to the general rule.  Therefore, we have no jurisdiction over the appeals.

	On October 16, 2008, this court notified Appellant that the information received in these
appeals does not include a final judgment or other appealable order and therefore does not show the
jurisdiction of this court.  See Tex. R. App. P. 37.2.  Appellant was further notified that the appeals
would be dismissed unless the information was amended on or before October 27, 2008 to show the
jurisdiction of this court.  See Tex. R. App. P. 44.3.  This deadline has now passed, and Appellant
has neither shown the jurisdiction of this court or otherwise responded to its October 16, 2008 notice.
Accordingly, the appeals are dismissed for want of jurisdiction.  See Tex. R. App. P. 42.3(a).

Opinion delivered October 31, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.















(DO NOT PUBLISH)


